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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
CARLOS H. MCKENSI,                  )
                                    )
            Plaintiff,              )
                                    )
v.                                  )                    Civil Action No. ___________
                                    )
BANK OF AMERICA, N.A.,              )
                                    )
            Defendant.              )
____________________________________)


                                       NOTICE OF REMOVAL

TO:         The Honorable Judges of the United States District Court for the District of
            Massachusetts

            Pursuant to 28 U.S.C. §§ 1441 et seq., Defendant Bank of America, N.A., successor by

merger to LaSalle Bank National Association, as trustee under the Pooling and Servicing

Agreement dated as of December 1, 2006, GSAMP Trust 2006-HE8 (“Bank of America”)

hereby removes the action captioned Carlos H. McKensi v. Bank of America, N.A., MICV2009-

04040, now pending in the Massachusetts Superior Court, Middlesex County, to the United

States District Court for the District of Massachusetts. In so doing, Bank of America states the

following:

            1.      On or about October 19, 2009, the plaintiff, Carlos H. McKensi (“McKensi”),

filed an action in Massachusetts Superior Court, Middlesex County, seeking, among other things,

to enjoin a foreclosure sale on property located in Everett, Massachusetts. The Superior Court

granted McKensi’s motion for a temporary restraining order the same day and scheduled a

hearing on McKensi’s motion for preliminary injunction for October 29, 2009. Two days later,




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on October 21, 2009, Bank of America was served with the complaint. By mutual agreement,

the parties continued the hearing on the preliminary injunction to a date in early December 2009.

According to the state court docket, no other proceedings have occurred. A copy of all papers

served on Bank of America are attached hereto as Exhibit A.

            2.      In his complaint and its exhibits, McKensi appears to allege that he obtained two

loans, in the combined balance of approximately $490,000, that were in violation of G. L. c.

183C, the Massachusetts Predatory Home Loan Practices Act. He alleges that these loans

“contain violations of various Federal loan and credit statutes.” See Exhibit A, Complaint, ¶ 12.

In his Chapter 93A demand letter (to parties other than Bank of America), which is attached to

and incorporated into his complaint, he declares that these loans are “unenforceable.” See

Exhibit A, Complaint, Exhibit 1, Chapter 93A Demand Letter, ¶ 3. As part of his complaint, he

seeks a declaration as to the parties’ rights and liabilities on these two mortgage loans. See

Exhibit A, Complaint, Request for Relief, ¶ 2.

            3.      McKensi identifies himself as a resident of Massachusetts. See, Exhibit A,

Complaint, ¶ 1. He identifies Bank of America as a resident of North Carolina See Id., ¶ 2.

            4.      As a result, this Court has original subject matter jurisdiction over this action on

the basis of 28 U.S.C. § 1332, as there is complete diversity of citizenship between McKensi and

Bank of America, and because the matter in controversy exceeds $75,000.

            5.      In addition, McKensi alleges that Bank of America violated “various Federal loan

and credit statutes” although he fails to identify these particular statutes. See Exhibit A,

Complaint, ¶ 12. Therefore, this Court also has original subject matter jurisdiction over this

claim on the basis of 28 U.S.C. § 1331, as it is a cause of action arising under the Constitution,




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laws, or treaties of the United States. The Court has supplemental jurisdiction over the

remaining claims of McKensi’s complaint on the basis of 28 U.S.C. § 1367.

            6.      Pursuant to 28 U.S.C. § 1446, Bank of America’s notice of removal is timely as it

is filed within thirty (30) days of receipt of the complaint.

            7.      Pursuant to 28 U.S.C. § 1446, a copy of this Notice of Removal is being filed with

the Massachusetts Superior Court.

            8.      Pursuant to Local Rule 81.1, Bank of America will file certified or attested to

copies of all papers that have been filed in Superior Court.

            WHEREFORE, Bank of America respectfully requests that the above action now

pending against it in the Middlesex County Superior Court in the Commonwealth of

Massachusetts be removed therefrom to this Court.


                                                  BANK OF AMERICA, N.A., as Trustee
                                                  By its attorneys,


                                                  _/s/ Joseph Calandrelli__________________
                                                  Richard E. Briansky, BBO# 632709
                                                  rbriansky@princelobel.com
                                                  Joseph P. Calandrelli, BBO# 666128
                                                  jcalandrelli@princelobel.com
                                                  PRINCE, LOBEL, GLOVSKY & TYE LLP
                                                  100 Cambridge Street, Suite 2200
                                                  Boston, MA 02114
Dated: November 12, 2009                          Tel: 617.456.8000




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                                 CERTIFICATE OF SERVICE

         I, Joseph Calandrelli, certify that a true and accurate copy of the foregoing document was
filed through the Court’s ECF system this 12th day of November, 2009. I further certify that a
true and accurate copy of the foregoing document was sent by first-class mail, postage prepaid to
all parties to this action on November 12, 2009.


                                             /s/ Joseph Calandrelli_________




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